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                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

      NETLIST, INC.,                  )
                                      )
                Plaintiff,            )
                                      )
                                                           Case No. 2:22-cv-203-JRG
           vs.                        )
                                      )
                                                           JURY TRIAL DEMANDED
      MICRON TECHNOLOGY, INC.; MICRON )
      SEMICONDUCTOR PRODUCTS, INC.; )
      MICRON TECHNOLOGY TEXAS LLC, )
                                      )
                Defendants.           )
                                      )

       PLAINTIFF NETLIST’S RESPONSE TO MICRON’S OBJECTIONS TO REPORT
          AND RECOMMENDATIONS GRANTING NETLIST’S MOTIONS FOR
          SUMMARY JUDGMENT ON ESSENTIALITY AND BREACH OF RAND

         Plaintiff Netlist, Inc. (“Netlist”) submits the following response to Defendants’ Objections

      (Dkt. 441) to Magistrate Judge Payne’s Report and Recommendations (Dkt. 421) granting

      Netlist’s Motion for Summary Judgment that the Asserted Patents are Not Essential (Dkt. 276)

      and Netlist’s Motion for Summary Judgment Dismissing Micron’s Affirmative Defense of Breach

      of RAND Obligation or in the Alternative for Severance (Dkt. 280). Micron’s Objections to Judge

      Payne’s Recommendations do not include any evidence or even argument that the asserted

      patents are standard-essential. Micron also does not dispute that Summary Judgment on its

      Breach of RAND Defense is proper if the patents are not essential. Netlist further disagrees with

      Micron’s objections for the reasons stated in its briefing on the Motions subject to Judge Payne’s

      Order, incorporated by reference herein. Dkts. 276, 344, 280, 342.

      Dated: January 30, 2024                          Respectfully submitted,

                                                       /s/ Jason G. Sheasby

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                                    CERTIFICATE OF SERVICE

             I hereby certify that a copy of the foregoing document was served on all counsel of record

      via the Court’s ECF System.

                                                            /s/ Isabella Chestney
                                                            Isabella Chestney




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